UNITED STATES BANKRUPTCY COURT

DISTRICT OF DELAWARE
In re: ) Chapter 11
)
W. R. GRACE, et al. ) Bankruptcy Case Nos.: 01-01139 (RJN)
) through 01-01200 (RJN)
Debtors. )
) Jointly Administered

MOTION AND ORDER FOR ADMISSION PRO HAC VICE

Eric D. Schwartz, a member of the bar of this Court, pursuant to District Court Local
Rule 83.5, moves the admission pro hac vice of Susan D. Wood, Esquire to represent National
Medical Care, Inc. ("NMC") in this action. The Admittee is admitted, practicing and in good
standing in the State of Illinois and is admitted to practice before the State Bar of Illinois and the
United States District Courts for the Central Districts of Illinois.

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Dated: May 2001

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CHI99 3704997-1.052942.0033 oO \S

Case 01-01139-AMC Doc 219 Filed 05/08/01 Page 2of8

The Admittee certifies that he is eligible for admission pro hac vice to this Court, is
admitted to practice and in good standing in the jurisdictions shown in the paragraph above,
submits to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in
the course of, or in the preparation of, this action, and has access to, or has acquired, a copy of
the Local Rules of this Court and is generally familiar with such Rules.

ull

Susan D. Wood, Esquire
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Motion granted.

BY THE COURT:

Date: Men, 1S 2001

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Case 01-01139-AMC Doc 219 Filed 05/08/01 Page 3of8

Certificate Of Service.

I, Eric D. Schwartz, certify that on May-+2001 I caused copies of the foregoing
Motion and Order For Admission Pro Hac Vice to be served in the manner indicated on the

parties on the attached service list.

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Case 01-01139-AMC Doc 219 Filed 05/08/01 Page 4of8

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Case 01-01139-AMC Doc 219 Filed 05/08/01 Page5of8

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Case 01-01139-AMC Doc 219 Filed 05/08/01 Page 6of8

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Case 01-01139-AMC Doc 219 Filed 05/08/01 Page 7 of8

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, Case 01-01139-AMC Doc 219 Filed 05/08/01 Page 8 of 8

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